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           IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                  NORTHERN DIVISION




 THE PROCTER & GAMBLE COMPANY
 and THE PROCTER & GAMBLE
 DISTRIBUTING CO.,
        Plaintiffs,                                  MEMORANDUM DECISION AND
                                                     ORDER DENYING PLAINTIFFS’
                                                     ORAL MOTION TO RECONSIDER
                                                     ORDER GRANTING
                                                     DEFENDANTS’ MOTION IN
                                                     LIMINE AS TO PLAINTIFFS’
                                                     EXPERTS DIFONZO AND BORDIA


                vs.


 RANDY L. HAUGEN, et al.,                            Case No. 1:95-CV-94 TS
        Defendants.




       Upon receiving the Court’s Order Granting Defendants’ Motion in Limine as to

Plaintiffs’ Experts DiFonzo and Bordia, Plaintiffs orally moved to reconsider as to Dr.

DiFonzo only. Plaintiffs argued that Dr. DiFonzo should still be allowed to testify as to his

opinion set forth in five pages of a June 30, 2003 expert Opinion. The Court heard brief

argument and took the matter under advisement. The Court finds that briefing on this

issue would not be helpful, and in view of the fact that trial has begun, would unduly waste

the parties’ resources.

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       Upon review of the record, the Court finds that the June 30, 2003 Opinion was not

an exhibit to, or argued in, the Motion, the opposition memorandum or the reply brief to the

Motion in Limine.1 Therefore, contrary to Plaintiffs’ argument, the Court need not have

considered any portion of that 2003 Opinion before excluding Dr. DiFonzo’s testimony

because it formed no part of the record. Thus, the Court did not “misapprehended the

facts, a party's position, or the controlling law” regarding the Motion in Limine and

reconsideration is not appropriate.2

       The matter before the Court in this order is only the oral Motion to Reconsider. If

Plaintiffs seek to present expert opinion other than that discussed in the Motion in Limine,

it must be by separate motion so there can be a complete record. It is therefore

       ORDERED that Plaintiffs’ oral Motion to Reconsider the Memorandum Decision and

Order Granting Defendants’ Motion in Limine as to Plaintiffs’ Experts DiFonzo and Bordia

is DENIED.

       DATED March 5, 2007.
                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




       1
           See Docket Nos. 935, 954, and 968.
       2
       Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th Cir. 2000) (citing Van
Skiver v. United States, 952 F.2d 1241, 1243 (10th Cir. 1991) (other citations omitted)).

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